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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION



KOSS CORPORATION,

      Plaintiff,
                                          Case No. 6:20-cv-00665
      v.

APPLE, INC.,

     Defendant.




                    JOINT CLAIM CONSTRUCTION STATEMENT
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       Pursuant to the scheduling order in the above-captioned case, Plaintiff Koss Corporation

and Defendant Apple Inc. submit this Joint Claim Construction Statement. The hearing is

scheduled for April 23, 2021, at 1:30 PM. The asserted patents and claims are:

   •   U.S. Patent No. 10,206,025 (“’025 Patent”) – Claims 1–2, 4, 5, 7–10, 12, 14, 15, 17–19,

       21, 23–24, 26–28, 30, 32–33, 35–38, 42, 44, 45, and 47–51

   •   U.S. Patent No. 10,298,451 (“’451 Patent”) – Claims 1 and 18

   •   U.S. Patent No. 10,469,934 (“’934 Patent”) – Claims 1–8, 11–13, 15–22, 24, 26–31, 36–

       41, 44–46, and 58–62

   •   U.S. Patent No. 10,491,982 (“’982 Patent”) – Claims 2, 6, 11, and 17

   •   U.S. Patent No. 10,506,325 (“’325 Patent”) – Claims 1, 5, 8–9, 11, and 17

The parties’ agreed and disputed claim constructions are below.

       Regarding the hearing on April 23, 2021, the parties agree to conduct the hearing by Zoom

or other remote platform, according to the Court’s preferences.

       Agreed Construction

 Term                   Claims                        Agreed Construction
 “wherein the docking   ’982 Patent – claim 2         The parties have agreed that this term
 station comprises a    ’325 Patent – claim 1         does not require construction
 power cable for
 connecting to an
 external device”



       Term No Longer Requiring Construction At This Hearing

 Term                   Claims                        Agreed Construction
 “wherein the           ’155 Patent – claim 1         This term was present only in claims
 headphone assembly                                   asserted against two defendants—
 is configured, with                                  Skullcandy and Plantronics—that are no
 the processor, to                                    longer parties to this Markman
 transition                                           proceeding.
 automatically . . .”


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          Disputed Constructions 1

    Term 2                                         Plaintiff’s           Defendants’ Proposal
                                                   Proposal
    “a remote, network-connected server that is    plain and ordinary    Wireless communication:
    in wireless communication with the mobile,     meaning               “communication without
    digital audio player”                                                wires”

    (’025 Patent – claim 1)                                              The remainder of the phrase
    (’934 Patent – claims 1 and 58)                                      requires no further
                                                                         construction

    “the processor is for, upon activation of a    plain and ordinary    “[The processor is for, upon
    user-control of the headphone assembly,        meaning               activation of a user-control of
    initiating transmission of a request to the                          the headphone] causing the
    remote, network-connected server”                                    earphone to address a request
                                                                         to the remote, network-
    (’025 Patent – claim 1)                                              connected server instead of
    (’934 Patent – claims 1 and 58) 3                                    the digital audio player”
    (ʼ982 Patent – claim 4)
    (ʼ325 Patent – claim 3)

    “in a second audio play mode, the earphones plain and ordinary       Second audio play mode: “A
    play audio content streamed from the remote, meaning                 mode in which the earphones
    network-connected server”                                            communicate with the server
                                                                         over an infrastructure
    (’025 Patent – claims 2, 12, 21, 30, and 42)                         wireless network”
    (’934 Patent – claims 2, 15, 24, 36, and 59)
    (ʼ982 Patent – claim 3) 4                                            If Apple’s construction is not
                                                                         adopted, the term is indefinite




1
      There are certain claim terms addressed in Defendants’ opening brief (Dkt. No. 57) that, due
      to the status of the case of the other on-brief Defendants, are not addressed in Apple’s Surreply,
      and thus are no longer necessary for inclusion in this statement. (See Dkt. No. 66 at page 18).
2
       All terms herein were proposed for construction by Apple.
3
       The phrase at issue appears in the claims noted with slight wording variations.
4
       The phrase at issue appears in the claims noted with slight wording variations.

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    Term 2                                          Plaintiff’s          Defendants’ Proposal
                                                    Proposal
    “a signal strength [level] for the second       plain and ordinary   “A measurement of the
    wireless communication link”                    meaning              strength of a signal received
                                                                         by the [headphone assembly /
    (’025 Patent – claims 4, 5, 7, 9, 14, 15, 17,                        headphones]”
    19, 23, 24, 26, 28, 32, 33, 35, 37, 44, 45,
    47, 49, and 50)
    (’934 Patent – claims 4, 6, 8, 12, 13, 17,
    18, 20, 22, 26, 27, 29, 31, 38, 40, 41, 44,
    and 58)
    (’982 Patent – claims 6 and 11)
    (’325 Patent – claims 5 and 11)

    “upon activation of the microphone by the       plain and ordinary   The term “remote” as used
    user, data are transmitted about the            meaning              here and throughout the
    headphone assembly to a remote device”
                                                                         asserted claims is indefinite;
    (’025 Patent – claims 8, 18, 27, 36, and 48)
    (’934 Patent – claims 7, 21, 30, 45, and 61)                         Alternatively, “remote
                                                                         device” means a device
                                                                         external to the headphone
                                                                         assembly

                                                                         The phrase “data are
                                                                         transmitted” renders the claim
                                                                         indefinite

    “the processor circuits of the headphones are   plain and ordinary   Configured to receive
    configured to receive firmware upgrades         meaning              firmware upgrades
    transmitted from a remote network server”                            transmitted from a remote
                                                                         network server: configured to
    (’155 Patent – claim 13)                                             receive firmware upgrades
    (’934 Patent – claims 1, 9, 46, 62) 5                                pushed to the earphones from
    (’325 Patent – claim 9)                                              the server

    “host servers”                                  plain and ordinary   A server that hosts a website
                                                    meaning              through which a user inputs
    (’451 Patent – claims 1 and 18)                                      credential data for at least one
                                                                         infrastructure wireless
                                                                         network;

                                                                         Alternatively, indefinite



5
       The phrase at issue appears in the claims noted with slight wording variations.

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 Term 2                                     Plaintiff’s          Defendants’ Proposal
                                            Proposal
 “a passive, wireless rechargeable power    plain and ordinary   A capacitor; otherwise,
 source”                                    meaning              indefinite

 (’982 Patent – claim 17)
 (’325 Patent – claims 8 and 17)



Dated: April 14, 2021                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 14, 2021, the foregoing was served on all

counsel of record by ECF.

                                                   /s/ Darlene F. Ghavimi
                                                   Darlene F. Ghavimi




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